Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 1 of 13
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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

 ***************************

 UNITED STATES OF AMERICA,
          Plaintiff

 vs.                                    Case No. 1:99-cr-10371-RGS-3

 JAMES J. BULGER,
          Defendant

 ***************************


                    TRANSCRIPT OF STATUS CONFERENCE
                BEFORE THE HONORABLE MARIANNE B. BOWLER
                       AT BOSTON, MASSACHUSETTS
                            ON MAY 29, 2012


 APPEARANCES:

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     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 2 of 13
                                                                              2




 1                               P R O C E E D I N G S

 2

 3                THE CLERK:    Today is Tuesday, May 29th, 2012.      The

 4    case of U.S. v. Bulger, Criminal Action No. 99-10371, will now

 5    be heard.

 6                Will counsel please identify themselves for the

 7    record.

 8                MR. KELLY:    Yes.   Good afternoon.    Brian Kelly and

 9    Fred Wyshak for the United States.

10                THE COURT:    Thank you very much.

11                MR. CARNEY:    Good afternoon, your Honor.      J.W. Carney,

12    Jr. for the defendant.       With me is my co-counsel, Hank Brennan.

13                THE COURT:    Thank you very much.

14                MR. BRENNAN:    Good afternoon, your Honor.

15                THE COURT:    Good afternoon.

16                Well, Mr. Carney, you're on your feet, so I'll hear

17    from you.

18                MR. CARNEY:    I filed a status report that gave the

19    status of the defense preparation and I tried to be as candid

20    as I could be in that motion, in that report.          We continue to

21    be overwhelmed by the amount of discovery that we have to go

22    through, and that is me and my team.        It's impossible to be

23    able to go through that much discovery during the timetable

24    that has been set by Judge Stearns.

25                If one were to imagine a 500-page book that a lawyer
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 3 of 13
                                                                              3




 1    had to read prior to a trial and applied that to this case, you

 2    would have more than 600 of those books lined up, meaning you

 3    couldn't even be ready if you were reading two of them a day,

 4    never mind understanding them and applying them to the case.

 5               The Government has had 20 years to look over this

 6    discovery and prepare for the trial.        The co-defendant, Stephen

 7    Flemmi, took four years before it was resolved.          I have now had

 8    the case for nine months.

 9               The Assistant U.S. Attorney, on occasion, has said

10    that James Bulger is trying to delay the trial.          That is a

11    falsehood.    I know of absolutely no evidence, statement,

12    witness, document, anything that suggests that Mr. Bulger is

13    trying to delay the trial.

14               The reason I'm putting forth these points is because I

15    need to be prepared for the trial.        As your Honor knows, I'm a

16    lawyer who has to follow the ethical rules of the Supreme

17    Judicial Court, and to go forward at a trial where I am grossly

18    unprepared would probably subject me to discipline, unless I

19    did everything I could to avoid that.

20               Just recently I was reading a state court case where a

21    defense counsel was given 300 pages of documents very late in

22    the discovery process, indeed after the trial had begun.          The

23    judge ordered a mistrial over the defendant's objection, and

24    the SJC affirmed that and said it's not appropriate to expect a

25    defense counsel who receives 300 new pages of discovery at the
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 4 of 13
                                                                              4




 1    outset of trial to be able to try that case ethically and

 2    effectively.

 3                THE COURT:    Well, that's skipping ahead.      We're not at

 4    trial right now.

 5                MR. CARNEY:    I understand, your Honor.     But it just

 6    puts into perspective, if I'm starting trial with thousands of

 7    more pages than that that I will not have been able to see.

 8                Your Honor also knows that this is a CJA appointment

 9    pursuant to the Criminal Justice Act.         I've been honored to be

10    on this Criminal Justice Act board appointed by this court now

11    for more than 10 years and I know the policies quite well, and

12    the intention of the CJA panel is to be available to take cases

13    and diligently prepare them for trial, but they are not

14    expected to do only a CJA case or cases as part of the

15    practice.    Indeed one couldn't because at the rate the court

16    pays, and I'm not being at all critical, you can't sustain a

17    law practice.     You've got to have other cases or you'll go

18    bankrupt.

19                Finally, your Honor, I owe an obligation to you,

20    having accepted this case, to make every effort I possibly can

21    with my team working with me to meet the deadlines that the

22    Court has set, in particular the trial date that was set by

23    Judge Stearns, and I am diligently working at the least six,

24    and some weeks seven days a week, to prepare this case for

25    trial.   To be honest, the stress on me personally has been
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 5 of 13
                                                                                5




 1    enormous by this schedule.       Even my doctor last week said that

 2    the impact of this stress is noticeable on me physically.          I do

 3    not want to be a lawyer who was born in 1952 and on my

 4    gravestone it says he died in 2012 from the stress of trying to

 5    get a case ready by an impossible deadline.

 6               THE COURT:    Well, are you telling me, Mr. Carney, you

 7    have some doubt whether or not you can proceed?

 8               MR. CARNEY:    What I would ask your Honor is for you to

 9    permit me next month to present this in writing to the Court,

10    so that I can put forth all of the facts that exist and the

11    Court can have an opportunity to consider it, and between now

12    and that date I will continue to work as hard as I possibly can

13    preparing this case for trial.

14               THE COURT:    Well, if you're considering withdrawing

15    for whatever reason, I don't want to wait a month.           Two weeks.

16    File any supporting documentation two weeks from today.

17               MR. CARNEY:    I'm not considering withdrawing at this

18    time, your Honor.

19               THE COURT:    Well, it certainly sounded that you had

20    some concern over whether or not you were physically able to do

21    this at this time.

22               MR. CARNEY:    What I'm suggesting is that I'll be

23    appearing before the Court with a motion to reschedule the

24    trial date to a reasonable date.        I think that's the first

25    step.
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 6 of 13
                                                                            6




 1               THE COURT:    Well, that's a matter for Judge Stearns,

 2    but in the meantime we will proceed as if we have a firm trial

 3    date.

 4               MR. CARNEY:    I understand, your Honor.

 5               THE COURT:    But I do think that one of the ways that

 6    we might be able to streamline it is for the Government and the

 7    defense to sit down and talk about what the trial is going to

 8    be about, because there may be vast amounts of material that

 9    don't have to have the review with such great particularity if

10    they are totally irrelevant to the matter.

11               Is the Government open to that?

12               MR. KELLY:    We're very open to that and we'd like to

13    do that.    We've offered to do that.

14               I mean, I think some of this has to be put in context

15    here.   You know, first of all, the defendant, Mr. Bulger, is of

16    course trying to avoid trial.

17               MR. CARNEY:    I object.

18               MR. KELLY:    Wait a minute.    He said his peace.

19               THE COURT:    All right.    One person at a time.

20               MR. KELLY:    And, you know, he fled the district 16

21    years ago trying to avoid trial.        So it's no secret he's not

22    eager to bring himself in front of a jury and have his guilt or

23    innocence determined.

24               So the second thing is that, you know, some of this

25    discovery is of such marginal relevance.         The only reason we
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 7 of 13
                                                                              7




 1    are producing it is because this case is, in fact, receiving

 2    such intense scrutiny.      For instance, as attached to the

 3    Government's status report.       You know, the 1700 pages that

 4    Mr. Carney laments in his status report as being missing

 5    discovery finally produced, it's 1700 pages of other informants

 6    saying Mr. Bulger has committed a bunch of crimes, Mr. Bulger

 7    committed this crime.      It's not exculpatory.      But to the extent

 8    it also references the fact that Mr. Bulger is committing

 9    crimes with Stephen Flemmi, and since Flemmi is a witness, you

10    know, it's arguably further impeachment for Flemmi, as if

11    there's not enough impeachment already of Flemmi.

12               But we gave this to Mr. Carney at the last hearing

13    because I asked him do you want it.        He wrote us a letter

14    saying there's some civil discovery, the FBI's civil discovery

15    that was produced, where is it located.         You know, it's 1700

16    pages of very marginal relevance.        He doesn't have to read that

17    (inaudible), but he has it.       He can search it now with the

18    search tools that are available.

19               THE COURT:    Electronically?

20               MR. KELLY:    Right.   So if there's a term that he wants

21    to search in these 1700 pages, he can do that.

22               You know, there are other cases in this district that

23    have proceeded.     It's not an impossible task.       The Government

24    remains willing to try to expedite this matter, facilitate this

25    in any way possible, in terms of meeting with them, telling
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 8 of 13
                                                                              8




 1    them what our, you know, witnesses are, who we think they're

 2    going to be, and this is where we think most of the evidence

 3    is.   We're not going to try to trick them.        You know, it's in

 4    our best interest to move this case along too.

 5               THE COURT:    Well, I think what I'd like to do is I'll

 6    give you the two weeks to file any particulars.          I also want to

 7    set the motion for protective order down for hearing.

 8               Mr. Kelly, you indicated you would like another week

 9    to respond to that?

10               MR. KELLY:    I would, your Honor.     You know, I wanted

11    to file something before this hearing -- I apologize for its

12    lateness -- but I do think it's worth discussing further with

13    counsel about that because there may be a simple solution.            But

14    one of the big issues that he raises is that he doesn't know

15    what he can attach and what he can't attach to any pleadings.

16    But what we have done in other cases and other matters is he

17    can temporarily file anything he wants, attach anything he

18    wants under seal.     If it's unobjectionable after the fact, then

19    we just won't oppose unsealing the whole thing.          So I think

20    that will simplify a lot of this.

21               THE COURT:    And as you pointed out, there are certain

22    things, such as personal medical records and that sort of

23    thing, which do raise some concerns.

24               MR. CARNEY:    I told Mr. Kelly last week that all

25    medical records, all psychiatric records, I agree should remain
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 9 of 13
                                                                            9




 1    confidential, and that those are not part of this.

 2               THE COURT:    All right.    So I'm going to order you to

 3    sit down once more to see if you can narrow this down to an

 4    area that is quite specific and exclude, if there are things

 5    like the medical records, psychiatric records that can be

 6    excluded, reduce that to writing.

 7               MR. CARNEY:    Perhaps the Government could give me a

 8    document that indicates what documents it wants to keep sealed

 9    from public view.     My view is that at this point in this saga

10    where there is no other defendant who is ever going to be

11    prosecuted for these crimes, that the time has come to open

12    this material up for people to see it.

13               The Government should not be trying to hide stuff

14    still at this point.      There are so many books being --

15               THE COURT:    Well, "hide" is a strong word, Mr. Carney.

16               MR. CARNEY:    I'm --

17               THE COURT:    "Hide" has a certain inference to it.

18               MR. CARNEY:    Well, "hide" is a very specific word,

19    your Honor is correct, and it does have meaning, and I intend

20    it to have its full meaning.

21               MR. KELLY:    Well, then let me point out the extra

22    protective order that's in place.        Nothing precludes him from

23    discussing the materials with witnesses that he identifies.

24    Nothing precludes him from discussing this with his defense

25    team.   So to suggest that it's barring him from actually doing
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 10 of 13
                                                                              10




 1     his job, it doesn't make a lot of sense.

 2                And to the extent he's going to have difficulty filing

 3     something that might include sealed materials, file whatever he

 4     wants.   But file it temporarily under seal, and chances are the

 5     Government is simply not going to object to its unsealing.            But

 6     he shouldn't feel restrained from, you know, filing whatever he

 7     wants.

 8                THE COURT:    Well, I think he's not talking so much

 9     about filing.

10                Is that correct, Mr. Carney?

11                MR. CARNEY:    It's not the primary reason, but filing

12     is important in terms of preparing things.

13                THE COURT:    Well, but filing, you can follow the

14     procedure outlined by Mr. Kelly.       You move to seal it, and if

15     the Government doesn't oppose, you know, has no concern, then

16     it can be unsealed.      But I thought your concern was more for

17     individuals with whom you were conferring.

18                MR. CARNEY:    That's correct, your Honor.

19                THE COURT:    Well, I urge you then to have one more

20     meeting; sit down and see if you can narrow this.          You file

21     your response.    I'll give you a prompt hearing on the motion

22     for the protective order.      As you know, Chief Judge Wolf has

23     major concerns about the documents in his case and those may

24     have to be dealt with separately.       But I will have a further

25     hearing.
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 11 of 13
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 1               Can we have a date, Mr. Garvin?

 2               THE CLERK:    Sure.

 3               How much time, Judge?

 4               THE COURT:    Well, I'd say three weeks.

 5               THE CLERK:    How about June 19th at 2:45?

 6               THE COURT:    Does that work for counsel?

 7               MR. CARNEY:    If I may have just one moment, please.

 8               (Pause.)

 9               MR. CARNEY:    Is either the 21st or 22nd available?

10               THE COURT:    What can you do, Mr. Garvin?

11               THE CLERK:    The 21st at 2:30.

12               MR. CARNEY:    Thank you, your Honor.

13               THE COURT:    The other thing I want you to keep in mind

14     at this time is dispositive motions.        I know it may seem a bit

15     premature, but I want to be considering a scheduling for

16     dispositive motions, so at least to have some guideline,

17     keeping in mind at the present that we still have the trial

18     date as firm and working back from that, in terms of adequate

19     time to deal with dispositive motions.

20               MR. CARNEY:    I'll have a better sense by that date,

21     your Honor.

22               THE COURT:    All right.    Anything else you want to

23     bring to my attention?

24               MR. KELLY:    No, your Honor.

25               MR. CARNEY:    No, your Honor.     Thank you very much.
     Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 12 of 13
                                                                            12




 1               THE COURT:    All right.    Then we stand in recess.

 2               (There was a break in the audio.)

 3               THE CLERK:    Resuming on the record?

 4               MR. CARNEY:    Yes.

 5               THE COURT:    Please be seated in the courtroom.

 6               MR. CARNEY:    The defense would assent to the exclusion

 7     of the time between today's date and June 21st in the interests

 8     of justice.

 9               THE COURT:    All right.    And Mr. Kelly, will you file

10     an assented-to motion to that effect?

11               MR. KELLY:    Yes, I will.    Thank you, your Honor.

12               THE COURT:    All right.    Thank you.

13

14               (The hearing was concluded.)

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Case 1:99-cr-10371-DJC Document 782 Filed 11/16/12 Page 13 of 13
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                        C E R T I F I C A T I O N



                  I, Karen M. Aveyard, Approved Federal Court

  Transcriber, do hereby certify that the foregoing transcript,

  consisting of 12 pages, is a correct transcript prepared to the

  best of my skill, knowledge and ability from the official

  digital sound recording of the proceedings in the

  above-entitled matter.




  /s/ Karen M. Aveyard

  Karen M. Aveyard



  November 15, 2012

  Date
